Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 1 of 51 Page ID
                                   #:450




                  EXHIBIT A
1/28/25, 11:25 AM                Case 2:23-cv-08299-GW-MAR
                                                    Omni LG Mail - RE:Document      47-1
                                                                      Yagoubzadeh Law Firm LLP Filed     01/28/25 Page
                                                                                               v. Diaz; 2:23-cv-08299-GW-MAR     2 of 51
                                                                                                                             ; Settlement      Page ID
                                                                                                                                          Conference
                                                                                  #:451

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  MARChambers <MAR_Chambers@cacd.uscourts.gov>                                         Thu, Jan 9, 2025 at 9:55 AM
  To: "Kevin M. Welch" <kevin@kmwlawoffice.com>, "ariana@omnilg.com" <ariana@omnilg.com>, Jillian Paris
  <jillian@omnilg.com>, Omid Khalifeh <omid@omnilg.com>


     Thank you for calling and sending this email.



     The settlement conference scheduled today will be taken off calendar and continued. If the parties can work together and provide
     dates and times to the court that will work for everyone involved as soon as possible.



     Thank you again.




https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1820794905565682083&simpl=msg-f:1820794905565682083&mb=1   1/4
1/28/25, 11:25 AM                Case 2:23-cv-08299-GW-MAR
                                                    Omni LG Mail - RE:Document      47-1
                                                                      Yagoubzadeh Law Firm LLP Filed     01/28/25 Page
                                                                                               v. Diaz; 2:23-cv-08299-GW-MAR     3 of 51
                                                                                                                             ; Settlement      Page ID
                                                                                                                                          Conference
                                                                                  #:452
     From: Kevin M. Welch <kevin@kmwlawoffice.com>
     Sent: Thursday, January 9, 2025 9:44 AM
     To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
     Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
     Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




     CAUTION - EXTERNAL:




     Hello Valerie,



     We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu took the trial off calendar and set a
     status conference for January 30th so we have time to schedule mediation with our clients. Perhaps we can continue
     todays conference.



     Best regards,



     Kevin Welch




             On Jan 9, 2025, at 8:05 AM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1820794905565682083&simpl=msg-f:1820794905565682083&mb=1   2/4
1/28/25, 11:25 AM                Case 2:23-cv-08299-GW-MAR
                                                    Omni LG Mail - RE:Document      47-1
                                                                      Yagoubzadeh Law Firm LLP Filed     01/28/25 Page
                                                                                               v. Diaz; 2:23-cv-08299-GW-MAR     4 of 51
                                                                                                                             ; Settlement      Page ID
                                                                                                                                          Conference
                                                                                  #:453


             Good morning,



             Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s courtroom is now available. I will
             change the calendar for today to reflect the courtroom change.



             Thank you!



             <image001.png>




             From: MARChambers
             Sent: Wednesday, January 8, 2025 5:09 PM
             To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
             <omid@omnilg.com>
             Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




             Good afternoon,



             Tomorrow for the settlement conference, we will be using courtroom 780 as Judge Rocconi’s courtroom is being used.



             Thank you.
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1820794905565682083&simpl=msg-f:1820794905565682083&mb=1   3/4
1/28/25, 11:25 AM                Case 2:23-cv-08299-GW-MAR
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                                                                      Yagoubzadeh Law Firm LLP Filed     01/28/25 Page
                                                                                               v. Diaz; 2:23-cv-08299-GW-MAR     5 of 51
                                                                                                                             ; Settlement      Page ID
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                                                                                  #:454

             <image001.png>
      CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on links.




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Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 6 of 51 Page ID
                                   #:455




                  EXHIBIT B
1/28/25, 11:27 AM                Case 2:23-cv-08299-GW-MAR
                                                    Omni LG Mail - Re:Document      47-1
                                                                      Yagoubzadeh Law          Filed
                                                                                      Firm LLP v.        01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR     7 of 51
                                                                                                                             ; Settlement      Page ID
                                                                                                                                          Conference
                                                                                   #:456

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  Omid Khalifeh <omid@omnilg.com>                                                         Tue, Jan 14, 2025 at 9:47 AM
  To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
  Cc: ariana@omnilg.com, Jillian Paris <jillian@omnilg.com>, "Kevin M. Welch" <kevin@kmwlawoffice.com>

     Thank you, Ms. Velasco.

     Plaintiffs are available for an in-person mediation with Judge Rocconi any day next week.


     Warm Regards,
     Omid Khalifeh




             On Jan 14, 2025, at 8:56 AM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:

             Thank you for the follow-up we confer and provide the Court with availability shortly.

             Best regards,

https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821247385803046540&simpl=msg-f:1821247385803046540&mb=1   1/4
1/28/25, 11:27 AM                Case 2:23-cv-08299-GW-MAR
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR     8 of 51
                                                                                                                             ; Settlement      Page ID
                                                                                                                                          Conference
             Kevin Welch                                                           #:457


                    On Jan 14, 2025, at 5:39 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:



                    Good morning,

                    Following-up on this email.

                    Thank you.

                    <image001.png>


                    From: MARChambers
                    Sent: Thursday, January 9, 2025 9:56 AM
                    To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
                    <omid@omnilg.com>
                    Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

                    Thank you for calling and sending this email.

                    The settlement conference scheduled today will be taken off calendar and continued. If the parties can work together and
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                    <image001.png>


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                    Sent: Thursday, January 9, 2025 9:44 AM
                    To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
                    Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                    Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

                     CAUTION - EXTERNAL:



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1/28/25, 11:27 AM            Case 2:23-cv-08299-GW-MAR
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                                                                                              Diaz; 2:23-cv-08299-GW-MAR     9 of 51
                                                                                                                         ; Settlement      Page ID
                                                                                                                                      Conference
                    Hello Valerie,                                             #:458

                    We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu took the trial off calendar
                    and set a status conference for January 30th so we have time to schedule mediation with our clients.
                    Perhaps we can continue todays conference.

                    Best regards,

                    Kevin Welch


                            On Jan 9, 2025, at 8:05 AM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


                            Good morning,

                            Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s courtroom is now
                            available. I will change the calendar for today to reflect the courtroom change.

                            Thank you!

                            <image001.png>

                            From: MARChambers
                            Sent: Wednesday, January 8, 2025 5:09 PM
                            To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>;
                            Omid Khalifeh <omid@omnilg.com>
                            Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

                            Good afternoon,

                            Tomorrow for the settlement conference, we will be using courtroom 780 as Judge Rocconi’s courtroom is
                            being used.

                            Thank you.

                            <image001.png>
                     CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or
                     clicking on links.


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Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 11 of 51 Page
                                 ID #:460




                 EXHIBIT C
1/28/25, 11:28 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       12 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:461

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  Kevin M. Welch <kevin@kmwlawoffice.com>                                               Wed, Jan 15, 2025 at 10:56 PM
  To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
  Cc: ariana@omnilg.com, Jillian Paris <jillian@omnilg.com>, Omid Khalifeh <omid@omnilg.com>

     Hello Ms Velasco,

     Defendant’s are available next week except Monday and Thursday morning. Defendants are available any day the
     following week.

     Best regards,

     Kevin Welch


             On Jan 15, 2025, at 10:28 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:




             Mr. Welch,



             Please let the court know your availability.



             Thank you.
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821387653636437753&simpl=msg-f:1821387653636437753&mb=1   1/7
1/28/25, 11:28 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - Re: Yagoubzadeh Law47-1
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                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:462

             <image001.png>




             From: Omid Khalifeh <omid@omnilg.com>
             Sent: Tuesday, January 14, 2025 9:47 AM
             To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Kevin M. Welch <kevin@kmwlawoffice.com>
             Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




              CAUTION - EXTERNAL:




             Thank you, Ms. Velasco.



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             Warm Regards,

             Omid Khalifeh




             <image002.jpg>
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821387653636437753&simpl=msg-f:1821387653636437753&mb=1   2/7
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       14 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:463




                    On Jan 14, 2025, at 8:56 AM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:



                    Thank you for the follow-up we confer and provide the Court with availability shortly.




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https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821387653636437753&simpl=msg-f:1821387653636437753&mb=1   3/7
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       15 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:464




                            From: MARChambers
                            Sent: Thursday, January 9, 2025 9:56 AM
                            To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>;
                            Omid Khalifeh <omid@omnilg.com>
                            Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                            Thank you for calling and sending this email.



                            The settlement conference scheduled today will be taken off calendar and continued. If the parties
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                            Thank you again.



                            <image001.png>




                            From: Kevin M. Welch <kevin@kmwlawoffice.com>
                            Sent: Thursday, January 9, 2025 9:44 AM
                            To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821387653636437753&simpl=msg-f:1821387653636437753&mb=1   4/7
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       16 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID  #:465
                            Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                            Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                             CAUTION - EXTERNAL:




                            Hello Valerie,



                            We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu took
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                            Kevin Welch



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                                    Good morning,



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                                                                                                                              ; Settlement 51 Page
                                                                                   ID  #:466
                                   Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s
                                    courtroom is now available. I will change the calendar for today to reflect the
                                    courtroom change.



                                    Thank you!



                                    <image001.png>




                                    From: MARChambers
                                    Sent: Wednesday, January 8, 2025 5:09 PM
                                    To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris
                                    <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                    Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference




                                    Good afternoon,



                                    Tomorrow for the settlement conference, we will be using courtroom 780 as Judge
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                                    Thank you.



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1/28/25, 11:28 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                             attachments or clicking on links.




              CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on
              links.




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Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 19 of 51 Page
                                 ID #:468




                 EXHIBIT D
1/28/25, 11:29 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - RE: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       20 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:469

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  MARChambers <MAR_Chambers@cacd.uscourts.gov>                                        Tue, Jan 21, 2025 at 1:19 PM
  To: "Kevin M. Welch" <kevin@kmwlawoffice.com>, "ariana@omnilg.com" <ariana@omnilg.com>, Jillian Paris
  <jillian@omnilg.com>, Omid Khalifeh <omid@omnilg.com>


     Good afternoon,



     The court is available to conduct the in-person settlement conference next Wednesday, January 29 at 11:00 am. Can the parties
     please confirm?



     Thank you.




https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   1/8
1/28/25, 11:29 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - RE: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       21 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:470
     From: Kevin M. Welch <kevin@kmwlawoffice.com>
     Sent: Wednesday, January 15, 2025 10:57 PM
     To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
     Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
     Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




     CAUTION - EXTERNAL:




     Hello Ms Velasco,



     Defendant’s are available next week except Monday and Thursday morning. Defendants are available any day the
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     Best regards,



     Kevin Welch




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1/28/25, 11:29 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       22 ofConference
                                                                                                                             ; Settlement 51 Page
             Mr. Welch,                                                           ID #:471




             Please let the court know your availability.



             Thank you.



             <image001.png>




             From: Omid Khalifeh <omid@omnilg.com>
             Sent: Tuesday, January 14, 2025 9:47 AM
             To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Kevin M. Welch <kevin@kmwlawoffice.com>
             Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       23 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:472



             Warm Regards,

             Omid Khalifeh




             <image002.jpg>




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                    Thank you for the follow-up we confer and provide the Court with availability shortly.




                    Best regards,




                    Kevin Welch




                            On Jan 14, 2025, at 5:39 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:




https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   4/8
1/28/25, 11:29 AM              Case 2:23-cv-08299-GW-MAR             Document
                                                  Omni LG Mail - RE: Yagoubzadeh Law47-1
                                                                                    Firm LLP v.Filed   01/28/25 Page
                                                                                               Diaz; 2:23-cv-08299-GW-MAR       24 ofConference
                                                                                                                          ; Settlement 51 Page
                            Good morning,                                      ID  #:473




                            Following-up on this email.



                            Thank you.



                            <image001.png>




                            From: MARChambers
                            Sent: Thursday, January 9, 2025 9:56 AM
                            To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>;
                            Omid Khalifeh <omid@omnilg.com>
                            Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                            Thank you for calling and sending this email.



                            The settlement conference scheduled today will be taken off calendar and continued. If the parties
                            can work together and provide dates and times to the court that will work for everyone involved as
                            soon as possible.



https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   5/8
1/28/25, 11:29 AM              Case 2:23-cv-08299-GW-MAR             Document
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                                                                                               Diaz; 2:23-cv-08299-GW-MAR       25 ofConference
                                                                                                                          ; Settlement 51 Page
                            Thank you again.                                   ID  #:474




                            <image001.png>




                            From: Kevin M. Welch <kevin@kmwlawoffice.com>
                            Sent: Thursday, January 9, 2025 9:44 AM
                            To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
                            Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                            Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                             CAUTION - EXTERNAL:




                            Hello Valerie,



                            We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu took
                            the trial off calendar and set a status conference for January 30th so we have time to
                            schedule mediation with our clients. Perhaps we can continue todays conference.



                            Best regards,


https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   6/8
1/28/25, 11:29 AM              Case 2:23-cv-08299-GW-MAR             Document
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                                                                                               Diaz; 2:23-cv-08299-GW-MAR       26 ofConference
                                                                                                                          ; Settlement 51 Page
                            Kevin Welch                                        ID  #:475




                                    On Jan 9, 2025, at 8:05 AM, MARChambers
                                    <MAR_Chambers@cacd.uscourts.gov> wrote:



                                    Good morning,



                                    Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s
                                    courtroom is now available. I will change the calendar for today to reflect the
                                    courtroom change.



                                    Thank you!



                                    <image001.png>




                                    From: MARChambers
                                    Sent: Wednesday, January 8, 2025 5:09 PM
                                    To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris
                                    <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                    Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference




https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   7/8
1/28/25, 11:29 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       27 ofConference
                                                                                                                             ; Settlement 51 Page
                                   Good afternoon,                                ID  #:476




                                    Tomorrow for the settlement conference, we will be using courtroom 780 as Judge
                                    Rocconi’s courtroom is being used.



                                    Thank you.



                                    <image001.png>

                             CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
                             attachments or clicking on links.




              CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on
              links.




      CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on links.




https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1821894928845264080&simpl=msg-f:1821894928845264080&mb=1   8/8
Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 28 of 51 Page
                                 ID #:477




                 EXHIBIT E
1/28/25, 11:31 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       29 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:478

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  Omid Khalifeh <omid@omnilg.com>                                                    Thu, Jan 23, 2025 at 11:47 AM
  Reply-To: Josh Yaghoubzadeh <jyaghoub@gmail.com>
  To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
  Cc: "Kevin M. Welch" <kevin@kmwlawoffice.com>, "ariana@omnilg.com" <ariana@omnilg.com>, Jillian Paris
  <jillian@omnilg.com>

     Thank you, Ms. Velasco. The plaintiff is confirmed.
     We look forward to meeting with you then.

     Warm Regards,
     Omid Khalifeh




             On Jan 23, 2025, at 7:35 AM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:

             Following up on the email below.

             Thank you.

https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822070363501079931&simpl=msg-f:1822070363501079931&mb=1   1/6
1/28/25, 11:31 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       30 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:479




             From: MARChambers
             Sent: Tuesday, January 21, 2025 1:20 PM
             To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
             <omid@omnilg.com>
             Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference
             Importance: High

             Good afternoon,

             The court is available to conduct the in-person settlement conference next Wednesday, January 29 at 11:00 am. Can the parties please
             confirm?

             Thank you.




             From: Kevin M. Welch <kevin@kmwlawoffice.com>
             Sent: Wednesday, January 15, 2025 10:57 PM
             To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
             Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

              CAUTION - EXTERNAL:


             Hello Ms Velasco,

             Defendant’s are available next week except Monday and Thursday morning. Defendants are available any day the
             following week.
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822070363501079931&simpl=msg-f:1822070363501079931&mb=1   2/6
1/28/25, 11:31 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       31 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:480
             Best regards,

             Kevin Welch


                    On Jan 15, 2025, at 10:28 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


                    Mr. Welch,

                    Please let the court know your availability.

                    Thank you.

                    <image001.png>

                    From: Omid Khalifeh <omid@omnilg.com>
                    Sent: Tuesday, January 14, 2025 9:47 AM
                    To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
                    Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Kevin M. Welch <kevin@kmwlawoffice.com>
                    Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

                     CAUTION - EXTERNAL:




                    Thank you, Ms. Velasco.

                    Plaintiffs are available for an in-person mediation with Judge Rocconi any day next week.



                    Warm Regards,
                    Omid Khalifeh

                    <image002.jpg>




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                                                                                      Firm LLP v.Filed   01/28/25 Page
                                                                                                 Diaz; 2:23-cv-08299-GW-MAR       32 ofConference
                                                                                                                            ; Settlement 51 Page
                                                                                 ID  #:481
                            On Jan 14, 2025, at 8:56 AM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:

                            Thank you for the follow-up we confer and provide the Court with availability shortly.

                            Best regards,

                            Kevin Welch




                                    On Jan 14, 2025, at 5:39 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


                                    Good morning,

                                    Following-up on this email.

                                    Thank you.

                                    <image001.png>



                                    From: MARChambers
                                    Sent: Thursday, January 9, 2025 9:56 AM
                                    To: Kevin M. Welch <kevin@kmwlawoffice.com>;ariana@omnilg.com; Jillian Paris
                                    <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                    Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference

                                    Thank you for calling and sending this email.

                                    The settlement conference scheduled today will be taken off calendar and continued. If the
                                    parties can work together and provide dates and times to the court that will work for everyone
                                    involved as soon as possible.

                                    Thank you again.

                                    <image001.png>



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Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 33 of 51 Page
                                 ID #:482




                  EXHIBIT F
1/28/25, 11:32 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - RE: Yagoubzadeh Law47-1
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       34 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:483

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  Kevin M. Welch <kevin@kmwlawoffice.com>                                         Thu, Jan 23, 2025 at 12:32 PM
  To: MARChambers <MAR_Chambers@cacd.uscourts.gov>, ariana@omnilg.com, Jillian Paris <jillian@omnilg.com>, Omid
  Khalifeh <omid@omnilg.com>


     Hello Valerie,




     I just received word that my client is unfortunately not available next Wednesday, January 29 at 11:00 am.




     He told me that he is available the week of the 10th, or Monday through Wednesday the week of the 17th, or Monday and Tuesday
     the week of the 24th.



     Best regards,



     Kevin M. Welch




     The Law Ofﬁce of Kevin M. Welch


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1/28/25, 11:32 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                                             ; Settlement 51 Page
     P.O. Box 494                                                                 ID #:484

     Hermosa Beach, CA 90254

     Tel: (310) 929-0553

     Fax: (310) 698-1626




     __________________________________




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     forwarding this e-mail to kevin@kmwlawoffice.com or by telephone at (310) 929-0553 and destroy the original transmission and its attachments
     without reading or saving in any manner. Thank you.




     From: MARChambers <MAR_Chambers@cacd.uscourts.gov>
     Sent: Thursday, January 23, 2025 7:36 AM
     To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
     Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




     Following up on the email below.



     Thank you.

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1/28/25, 11:32 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       36 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:485




     From: MARChambers
     Sent: Tuesday, January 21, 2025 1:20 PM
     To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
     Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference
     Importance: High




     Good afternoon,



     The court is available to conduct the in-person settlement conference next Wednesday, January 29 at 11:00 am. Can the parties
     please confirm?



     Thank you.




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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       37 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:486




     From: Kevin M. Welch <kevin@kmwlawoffice.com>
     Sent: Wednesday, January 15, 2025 10:57 PM
     To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
     Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
     Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




     CAUTION - EXTERNAL:




     Hello Ms Velasco,



     Defendant’s are available next week except Monday and Thursday morning. Defendants are available any day the
     following week.



     Best regards,



     Kevin Welch

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1/28/25, 11:32 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:487

             On Jan 15, 2025, at 10:28 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:



             Mr. Welch,



             Please let the court know your availability.



             Thank you.



             <image001.png>




             From: Omid Khalifeh <omid@omnilg.com>
             Sent: Tuesday, January 14, 2025 9:47 AM
             To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Kevin M. Welch <kevin@kmwlawoffice.com>
             Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




              CAUTION - EXTERNAL:




             Thank you, Ms. Velasco.
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822073151930504038&simpl=msg-f:1822073151930504038&mb=1   5/10
1/28/25, 11:32 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:488

             Plaintiffs are available for an in-person mediation with Judge Rocconi any day next week.




             Warm Regards,

             Omid Khalifeh




             <image002.jpg>



                    On Jan 14, 2025, at 8:56 AM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:



                    Thank you for the follow-up we confer and provide the Court with availability shortly.




                    Best regards,




                    Kevin Welch




                            On Jan 14, 2025, at 5:39 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:




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1/28/25, 11:32 AM              Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                                          ; Settlement 51 Page
                            Good morning,                                      ID  #:489




                            Following-up on this email.



                            Thank you.



                            <image001.png>




                            From: MARChambers
                            Sent: Thursday, January 9, 2025 9:56 AM
                            To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>;
                            Omid Khalifeh <omid@omnilg.com>
                            Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                            Thank you for calling and sending this email.



                            The settlement conference scheduled today will be taken off calendar and continued. If the parties
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                                                                                                                          ; Settlement 51 Page
                            Thank you again.                                   ID  #:490




                            <image001.png>




                            From: Kevin M. Welch <kevin@kmwlawoffice.com>
                            Sent: Thursday, January 9, 2025 9:44 AM
                            To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
                            Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                            Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference




                             CAUTION - EXTERNAL:




                            Hello Valerie,



                            We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu took
                            the trial off calendar and set a status conference for January 30th so we have time to
                            schedule mediation with our clients. Perhaps we can continue todays conference.



                            Best regards,


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                                                                                                                          ; Settlement 51 Page
                            Kevin Welch                                        ID  #:491




                                    On Jan 9, 2025, at 8:05 AM, MARChambers
                                    <MAR_Chambers@cacd.uscourts.gov> wrote:



                                    Good morning,



                                    Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s
                                    courtroom is now available. I will change the calendar for today to reflect the
                                    courtroom change.



                                    Thank you!



                                    <image001.png>




                                    From: MARChambers
                                    Sent: Wednesday, January 8, 2025 5:09 PM
                                    To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris
                                    <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                    Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference




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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       43 ofConference
                                                                                                                             ; Settlement 51 Page
                                   Good afternoon,                                ID  #:492




                                    Tomorrow for the settlement conference, we will be using courtroom 780 as Judge
                                    Rocconi’s courtroom is being used.



                                    Thank you.



                                    <image001.png>

                             CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
                             attachments or clicking on links.




              CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on
              links.




      CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening attachments or clicking on links.




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Case 2:23-cv-08299-GW-MAR   Document 47-1   Filed 01/28/25   Page 44 of 51 Page
                                 ID #:493




                 EXHIBIT G
1/28/25, 11:34 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       45 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:494

                                                                                                                                         Jillian Paris <jillian@omnilg.com>


  Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
  Conference
  1 message

  Omid Khalifeh <omid@omnilg.com>                                                   Thu, Jan 23, 2025 at 12:39 PM
  Reply-To: Josh Yaghoubzadeh <jyaghoub@gmail.com>, "Daniel L. Ginsberg" <daniel@omnilg.com>, Jonathan
  Yagoubzadeh <jy@yaglaw.com>
  To: "Kevin M. Welch" <kevin@kmwlawoffice.com>
  Cc: MARChambers <MAR_Chambers@cacd.uscourts.gov>, ariana@omnilg.com, Jillian Paris <jillian@omnilg.com>

     Hi Kevin,

     Thank you for your email. I wanted to confirm whether your client is aware that Judge Wu has ordered this mediation
     and has scheduled a post-mediation status conference for January 30th. Given the Court’s expectations and the fact
     that your client previously agreed to this date, I would strongly encourage him to reconsider postponing.

     Please let us know if there’s any flexibility in his availability and whether he will honor the Court's Order on the originally
     agreed-upon date.

     Warm Regards,
     Omid Khalifeh




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1/28/25, 11:34 AM         Case 2:23-cv-08299-GW-MAR             Document
                                             Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                               Firm LLP v.Filed   01/28/25 Page
                                                                                          Diaz; 2:23-cv-08299-GW-MAR       46 ofConference
                                                                                                                     ; Settlement 51 Page
                                                                          ID  #:495
             On Jan 23, 2025, at 12:32 PM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:

             Hello Valerie,

             I just received word that my client is unfortunately not available next Wednesday, January 29 at 11:00 am.

             He told me that he is available the week of the 10th, or Monday through Wednesday the week of the 17th, or Monday and Tuesday the
             week of the 24th.

             Best regards,

             Kevin M. Welch

             The Law Ofﬁce of Kevin M. Welch
             P.O. Box 494
             Hermosa Beach, CA 90254
             Tel: (310) 929-0553
             Fax: (310) 698-1626

             __________________________________

             CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, ﬁles or previous e-mail messages attached to it may
             contain conﬁdential information re page that is legally privileged. If you are not the intended recipient, or a person responsible for
             delivering it to the intended recipient, you are hereby notiﬁed that any disclosure, copying, distribution or use of any of the
             information contained in or attached to this transmission is STRICTLY PROHIBITED. If you have received this transmission in error,
             please immediately notify us by reply e-mail, by forwarding this e-mail to kevin@kmwlawoffice.com or by telephone at (310) 929-
             0553 and destroy the original transmission and its attachments without reading or saving in any manner. Thank you.

             From: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Sent: Thursday, January 23, 2025 7:36 AM
             To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
             <omid@omnilg.com>
             Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

             Following up on the email below.

             Thank you.



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1/28/25, 11:34 AM                 Case 2:23-cv-08299-GW-MAR             Document
                                                     Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                       Firm LLP v.Filed   01/28/25 Page
                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       47 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:496




             From: MARChambers
             Sent: Tuesday, January 21, 2025 1:20 PM
             To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
             <omid@omnilg.com>
             Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference
             Importance: High

             Good afternoon,

             The court is available to conduct the in-person settlement conference next Wednesday, January 29 at 11:00 am. Can the parties please
             confirm?

             Thank you.




             From: Kevin M. Welch <kevin@kmwlawoffice.com>
             Sent: Wednesday, January 15, 2025 10:57 PM
             To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
             Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
             Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

              CAUTION - EXTERNAL:


             Hello Ms Velasco,

             Defendant’s are available next week except Monday and Thursday morning. Defendants are available any day the
             following week.
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822073607715007420&simpl=msg-f:1822073607715007420&mb=1   3/7
1/28/25, 11:34 AM                 Case 2:23-cv-08299-GW-MAR             Document
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                                                                                                  Diaz; 2:23-cv-08299-GW-MAR       48 ofConference
                                                                                                                             ; Settlement 51 Page
                                                                                  ID #:497
             Best regards,

             Kevin Welch


                    On Jan 15, 2025, at 10:28 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


                    Mr. Welch,

                    Please let the court know your availability.

                    Thank you.

                    <image001.png>

                    From: Omid Khalifeh <omid@omnilg.com>
                    Sent: Tuesday, January 14, 2025 9:47 AM
                    To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
                    Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Kevin M. Welch <kevin@kmwlawoffice.com>
                    Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement Conference

                     CAUTION - EXTERNAL:


                    Thank you, Ms. Velasco.

                    Plaintiffs are available for an in-person mediation with Judge Rocconi any day next week.



                    Warm Regards,
                    Omid Khalifeh

                    <image002.jpg>


                            On Jan 14, 2025, at 8:56 AM, Kevin M. Welch <kevin@kmwlawoffice.com> wrote:


https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822073607715007420&simpl=msg-f:1822073607715007420&mb=1   4/7
1/28/25, 11:34 AM               Case 2:23-cv-08299-GW-MAR                  Document
                                                        Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                          Firm LLP v.Filed   01/28/25 Page
                                                                                                     Diaz; 2:23-cv-08299-GW-MAR       49 ofConference
                                                                                                                                ; Settlement 51 Page
                                                                                     ID  #:498
                            Thank you for the follow-up we confer and provide the Court with availability shortly.

                            Best regards,

                            Kevin Welch


                                    On Jan 14, 2025, at 5:39 PM, MARChambers <MAR_Chambers@cacd.uscourts.gov> wrote:


                                    Good morning,

                                    Following-up on this email.

                                    Thank you.

                                    <image001.png>



                                    From: MARChambers
                                    Sent: Thursday, January 9, 2025 9:56 AM
                                    To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris
                                    <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                    Subject: RE: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference

                                    Thank you for calling and sending this email.

                                    The settlement conference scheduled today will be taken off calendar and continued. If the
                                    parties can work together and provide dates and times to the court that will work for everyone
                                    involved as soon as possible.

                                    Thank you again.

                                    <image001.png>



                                    From: Kevin M. Welch <kevin@kmwlawoffice.com>
                                    Sent: Thursday, January 9, 2025 9:44 AM
                                    To: MARChambers <MAR_Chambers@cacd.uscourts.gov>
https://mail.google.com/mail/u/0/?ik=6fa15c6c71&view=pt&search=all&permthid=thread-f:1820633569395227863%7Cmsg-f:1822073607715007420&simpl=msg-f:1822073607715007420&mb=1   5/7
1/28/25, 11:34 AM                 Case 2:23-cv-08299-GW-MAR              Document
                                                      Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                        Firm LLP v.Filed   01/28/25 Page
                                                                                                   Diaz; 2:23-cv-08299-GW-MAR       50 ofConference
                                                                                                                              ; Settlement 51 Page
                                                                                   ID  #:499
                                   Cc: ariana@omnilg.com; Jillian Paris <jillian@omnilg.com>; Omid Khalifeh
                                    <omid@omnilg.com>
                                    Subject: Re: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ; Settlement
                                    Conference

                                     CAUTION - EXTERNAL:


                                    Hello Valerie,

                                    We are done early from Judge Wu. We are outside Courtroom 790 now. Judge Wu
                                    took the trial off calendar and set a status conference for January 30th so we have time
                                    to schedule mediation with our clients. Perhaps we can continue todays conference.

                                    Best regards,

                                    Kevin Welch


                                            On Jan 9, 2025, at 8:05 AM, MARChambers
                                            <MAR_Chambers@cacd.uscourts.gov> wrote:


                                            Good morning,

                                            Sorry for the confusion but we will be meeting in courtroom 790 as Judge Rocconi’s
                                            courtroom is now available. I will change the calendar for today to reflect the
                                            courtroom change.

                                            Thank you!

                                            <image001.png>

                                            From: MARChambers
                                            Sent: Wednesday, January 8, 2025 5:09 PM
                                            To: Kevin M. Welch <kevin@kmwlawoffice.com>; ariana@omnilg.com; Jillian Paris
                                            <jillian@omnilg.com>; Omid Khalifeh <omid@omnilg.com>
                                            Subject: Yagoubzadeh Law Firm LLP v. Diaz; 2:23-cv-08299-GW-MAR ;
                                            Settlement Conference


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1/28/25, 11:34 AM                 Case 2:23-cv-08299-GW-MAR              Document
                                                      Omni LG Mail - Re: Yagoubzadeh Law47-1
                                                                                        Firm LLP v.Filed   01/28/25 Page
                                                                                                   Diaz; 2:23-cv-08299-GW-MAR       51 ofConference
                                                                                                                              ; Settlement 51 Page
                                        Good afternoon,                            ID  #:500

                                            Tomorrow for the settlement conference, we will be using courtroom 780 as Judge
                                            Rocconi’s courtroom is being used.

                                            Thank you.

                                            <image001.png>
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